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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 TAMIE SEAY, as personal representative of the       )
 Estate for HERBERT SEAY, deceased,                  )
                                                     )
               Plaintiff,                            )
                                                     )
       v.                                            ) Case No. 1:18-cv-00161-TWP-DLP
                                                     )
 CITY OF INDIANAPOLIS, et al.                        )
                                                     )
               Defendants.                           )

                                Motion for Summary Judgment

        The City of Indianapolis, Charles Parker, Eric Baker, Robert Rennaker, Daniel Greenwell,

 Thomas Shaffer, William Fishburn, Sandra Storkman, Erika Jones, Joshua Hasseld, Shawn

 Looper, Bradley Millikan, Michael Bruin, and Edward Fiscus (“Defendants”), by counsel,

 respectfully move for summary judgment on each of Plaintiff’s claims. In support of this motion,

 Defendants state:

        1.     This case arises from damages that Herbert Seay allegedly suffered when he was

 placed under arrest on January 14, 2016.

        2.     Plaintiff claims that IMPD Officers Charles Parker, Eric Baker, Robert Rennaker,

 Daniel Greenwell, Thomas Shaffer, William Fishburn, Sandra Storkman, Erika Jones, Joshua

 Hasseld, Shawn Looper, Bradley Millikan, Michael Bruin, and Edward Fiscus (“Defendant

 Officers”) actions and inactions were unreasonable to Seay’s medical needs and constituted an

 unreasonable seizure in violation of the Fourth Amendment to the United States Constitution.

        3.     Plaintiff also claims that the City of Indianapolis is liable for these actions and

 inactions because they constituted negligence and resulted in Seay’s wrongful death.

        4.     Plaintiff’s claims must fail because they lack evidentiary and legal support.

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         5.      The claims against the Defendant Officers must fail because the Defendant Officers

 were not named in a timely manner or properly served before the applicable statute of limitations

 expired.

         6.      The Defendant Officers are entitled to qualified immunity because they did not

 violate any right that was clearly established on January 14, 2016.

         7.      The Defendant Officers did not fail to intervene in any constitutional violations.

         8.      The City of Indianapolis and its employees are immune from Plaintiff’s state-law

 negligence and wrongful death claims under the Indiana Tort Claims Act.

         9.      When ruling on this motion, Defendants respectfully request that this Court

 consider their brief in support of motion for summary judgment.

         WHEREFORE, Defendants respectfully requests this Court grant them summary judgment

 and all other relief that is just and proper.

                                                 Respectfully Submitted,



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                                 CERTIFICATE OF SERVICE

        I hereby certify that June 5, 2019, a copy of the foregoing was filed electronically. Service

 of this filing will be made on all ECF-registered counsel by operation of the Court’s electronic

 filing system. Parties may access this filing through the Court’s system.

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